            Case 5:05-cr-00641-RMW          Document 41        Filed 03/02/06     Page 1 of 2



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 9                                                                            *E-FILED - 3/2/06*
10                           IN THE UNITED STATES DISTRICT COURT
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,           )               No. CR 05-00641-RMW
13                                       )
                         Plaintiff,      )
14                                       )               ORDER AFTER HEARING
                 v.                      )               EXCLUDING TIME UNDER THE
15                                       )               SPEEDY TRIAL ACT
     YE TENG WEN,                        )
16         aka Michael Wen, and          )
     HAO HE,                             )
17         aka Kevin He,                 )
                                         )
18                       Defendants.     )
     ____________________________________)
19
20          On February 27, 2006, the above-captioned case came on for a status conference hearing.
21   Defendant Ye Teng Wen, who was present, was represented by defense attorney Vicki Young,
22   and defendant Hao He, who was present, was represented by defense attorney Richard Pointer.
23   The United States was represented by Assistant U.S. Attorneys Mark L. Krotoski and Matthew
24   A. Lamberti.
25          At the hearing, the Court set a status conference for April 24, 2006 at 9:00 a.m. The
26   parties agreed and the Court independently found that time should be excluded under the Speedy
27
     [] ORDER AFTER HEARING EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
28   CR 05-00641-RM W
              Case 5:05-cr-00641-RMW             Document 41        Filed 03/02/06      Page 2 of 2



 1   Trial Act from February 27, 2006 through and until April 24, 2006, to allow counsel time to
 2   prepare for trial, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv) (reasonable time
 3   necessary for effective preparation taking into account the exercise of due diligence and
 4   continuity of counsel).
 5              Specifically, the ends of justice served by the granting of such continuance outweigh the
 6   best interests of the public and the defendant in a speedy trial, after considering the relevant
 7   factors:
 8   (i)        The failure to grant such a continuance in the proceeding would be likely to result in a
 9              miscarriage of justice since the defense needs reasonable time to prepare for trial and
10              pursue other investigation, particularly given the discovery provided (including
11              approximately 28 pallets of evidence obtained in the case and which the defense has
12              reviewed on one occasion in a warehouse), and the number of witnesses involved in the
13              case; the parties have also been discussing valuation issues in the event the case may
14              resolve.
15     (ii)     The failure to grant such a continuance would deny counsel for the defendant reasonable
16              time necessary for effective preparation, taking into account the exercise of due diligence;
17   (iii)      The request for the exclusion of time is reasonable and specifically limited in time until
18              April 24, 2006, after allowing time for reasonable time for investigation and preparation.
19              For the foregoing reasons, the ends of justice served by the granting of such continuance
20   outweigh the best interests of the public and the defendant in a speedy trial, and given that the
21   defense needs reasonable time necessary for effective preparation, taking into account the
22   exercise of due diligence. 18 U.S.C. S 3161(h)(8)(A).
23              This written order memorializes the oral rulings of the Court made on February 27, 2006.
24   Dated: March 2, 2006
25
26                                                                    _________________________
                                                                       /s/ Ronald M. Whyte
                                                                      RONALD M. WHYTE
27                                                                    United States District Judge
28



     [] ORDER AFTER HEARING EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
     CR 05-00641-RM W
